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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                           )
 CENTRE GMBH and WEST PUBLISHING                      )
 CORPORATION,                                         )
                                                      )   C.A. No. 20-613-SB
                  Plaintiffs/Counterdefendants,       )
                                                      )   JURY TRIAL DEMANDED
         v.                                           )
                                                      )
 ROSS INTELLIGENCE INC.,                              )     PUBLIC VERSION
                                                      )
                  Defendants/Counterclaimant.         )


 DEFENDANT/COUNTERCLAIMANT ROSS INTELLIGENCE INC.’S OPPOSITION
   TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT (NO. 1)
                   ON COPYRIGHT INFRINGEMENT



                                                      David E. Moore (#3983)
 OF COUNSEL:                                          Bindu A. Palapura (#5370)
                                                      Andrew L. Brown (#6766)
 Gabriel M. Ramsey                                    POTTER ANDERSON & CORROON LLP
 Warrington Parker                                    Hercules Plaza, 6th Floor
 Joachim B. Steinberg                                 1313 N. Market Street
 Jacob Canter                                         Wilmington, DE 19801
 Christopher J. Banks                                 Tel: (302) 984-6000
 CROWELL & MORING LLP                                 dmoore@potteranderson.com
 3 Embarcadero Center, 26th Floor                     bpalapura@potteranderson.com
 San Francisco, CA 94111                              abrown@potteranderson.com
 Tel: (415) 986-2800
                                                      Attorneys for Defendant/Counterclaimant
 Mark A. Klapow                                       ROSS Intelligence, Inc.
 Crinesha B. Berry
 CROWELL & MORING LLP
 1001 Pennsylvania Avenue, NW
 Washington, DC 20004
 Tel: (202) 624-2500

 Dated: January 30, 2023
 10570361 / 20516.00001
 Public Version Dated: February 6, 2023




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                      INTRODUCTION AND SUMMARY OF ARGUMENT

        The Westlaw Content at issue in this case is registered as a single compilation. That

compilation includes over 11.2 billion data records, comprised of, among other things, over 28.7

million headnotes, and over 100,000 topics and subtopics.

        Plaintiffs’ arguments on direct infringement rest on the claimed copying of less than

.0098% of all the headnotes and only .0000253% of the entire compilation. Plaintiffs’ arguments

on indirect infringement does not even quantify a percentage of the compilation allegedly copied,

but it is necessarily an extremely small percentage of the copyrighted compilation. As a matter of

law, Plaintiffs cannot establish copyright infringement. Courts have found that copying even up

to 75% of a compilation is insufficient to find copyright infringement.

        Plaintiffs’ motion suffers from other infirmities. Plaintiffs’ direct infringement argument

rests on                  .

       which was prepared prior to the time that Plaintiffs identified the specific items of

Westlaw Content Plaintiffs claimed were at issue.

        What Plaintiffs do not tell this Court is that                         referenced in

Plaintiffs’ motion,                                                                   . Plaintiffs

only identified                                  as being copied by ROSS and at issue in this case.

Of those                      might bear the argument that they are copies of headnotes. This is less

than               of all the headnotes.

        Plaintiffs indirect copyright arguments fail because, as noted, they cannot establish direct

infringement by LegalEase. Nor can Plaintiffs establish that ROSS contributed to infringement

or induced it. In fact, ROSS received contractual assurances that LegalEase would not violate

the intellectual property rights of third parties.

        Plaintiffs’ motion for summary judgment should be denied.
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                         NATURE AND STAGE OF PROCEEDING

        Plaintiffs sued ROSS Intelligence on May 6, 2020. (D.I. 1.) The parties filed dispositive

motions on December 22, 2022. (D.I. 250.) This opposition is due on January 30, 2023.

                                   STATEMENT OF FACTS

       A.      Plaintiffs’ Headnotes, Key Number System, and the Westlaw Content

       The purpose of Westlaw Content, such as headnotes and the key number system is to

locate cases, to understand what a case stands for, and to understand what a judge has decided.

(D.I. 255-1, Ex. 9 at 116:14-119:6.)

                                        (Declaration of Crinesha B. Berry (“Berry Decl.”) Ex. 9

at 240:2-241:10.)

       The headnote and key number system originated with Benjamin and Austin Abbott. (D.I.

277 ¶ 5.) They wished to arrive at a means to locate judicial opinions. (Id.) They found, as did

West Publishing, a short time later, that there were only a limited number of ways to organize the

law if the purpose was to ensure the location of judicial opinions. (D.I. 277, Ex. B at ¶¶ 15-16.)

       In 1889, West Publishing purchased the Abbot’s digest system. (D.I. 277 ¶ 13.) West

too organized its headnotes and key numbers as dictated by the law and the language of judicial

opinions. As West acknowledged “any philosophical analysis of the law would be inapplicable

to a digest . . . .” (D.I. 277 ¶ 18 (citing West Publishing Co., American Digest Main Heads and

Subdivisions of Classification Scheme: A Logical Analysis of the Law for the Use of Indexers and

Digest Makers at iii (4th ed. 1904)); and West Publishing Co., American Digest Main Heads of

Classification Scheme: A Logical System of the Law for the Use of Indexers and Digest Makers

at iii (5th ed. 1916).) Rather, the purpose was to allow lawyers to “look for precedents relating

to specific subjects under heads to which they have become accustomed.” (Id.)




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         Over the more than one hundred years since West began publishing headnotes and key

numbers, little has changed. Plaintiffs’ protocols dictate that they follow or closely mirror the

language of judicial opinions.

                                           (D.I. 281-29, Ex. 53 at 72:10-74:25, 75:2-14, 76:11-

77:21, 79:12-82:11; 84:6-85:2; D.I. 281-40, Ex. 64, at 8, 15, 22; D.I. 281-42, Ex. 65, at 8; D.I.

280 ¶ 45.)

         Key numbers are little different. The goal is to find a case within the language of the law.

For about a century, Plaintiff West has put its classification system forward as a standard, and

has accepted its use by competitors. (D.I. 277 ¶ 22.) Also, the top-level topics in the system are

overwhelmingly the same since 1897 and 1904, reflecting common doctrinal topics taught as law

school courses. (D.I. 277 ¶ 24.) Changes are made when the increase in cases on a topic start

making the system unwieldy. (D.I. 277 ¶ 26; D.I. 281-29, Ex. 53, at 205:23-208:8.)



                                                                                             (D.I. 250

at 3.)                                                         . (Declaration of Jacob Canter

(“Canter Decl.”), Ex. 69 at 237:5-14; id., Ex. 70.)

         B.     Plaintiffs’ Copyright Registration

         The entirety of what Plaintiffs call “Westlaw Content” is registered as a single

compilation. (D.I. 1-1 (Exhibit A to the Complaint); see e.g. id. at 2, 4, 6, 8 (noting that this is a

certificate of copyright registration for “Compilations, revisions, additions, etc.”).) The

registered work contains 11,205,374,706 data records. (D.I. 281-36 Ex. 60, at TR-0026190; D.I.

1-1, Ex. A.) It contains                                             key number subtopics. (D.I.

281-2, Ex. 15 at 8; D.I. 281-29. Ex., 53, at 188:17-189:4; D.I. 280 ¶ 25 (citing TR-0179847, D.I.




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281-33).) As of 1998, there were 1,583,000 data records corresponding to judicial opinions.

(D.I. 255-6, Ex. 81.)

        C.      ROSS Develops A Natural Language Legal Search Engine

        ROSS Intelligence Inc. (“ROSS”) was founded in 2014 to develop a natural language

search engine that relied on machine learning and artificial intelligence.

                                        (D.I. 281-9, Ex. 31 at 11:21-12:4, 50:21-24; id., D.I. 281-1,

Ex. 5 at 39:19-23; 41:5-41:13; D.I. 278 ¶ 5.)



                        D.I. 281-1, Ex. 4; id., Ex. 5, at 115:18-22; id., Ex. 9, at 163:1-18, 164:6-

165:4; id., D.I. 281-9, Ex. 34; D.I. 278 ¶ 20.)



                            The answers were quotes

(Id.)                                                                                    (Id., Ex. 4, at

TR-0000569; id., Ex. 5, at 50:1-51:12, 115:18-22, 123:17-24:13.) A

                                                                                    (Id., Ex. 4, at TR-

0000568; id., Ex. 7, at 168:7-19; id., D.I. 281-39, Ex. 63, at LEGALEASE-00093078.)

        D.      ROSS Hires A LegalEase To Create The Memos

        ROSS hired a third-party legal research company, LegalEase Solutions, LLC, that

worked with a subcontractor Morae Global (collectively “LegalEase”), to prepare the memos

(Id., Ex. 5, at 115:18-22, 116:12-16; id., Ex. 4; id., Ex. 6, at 88:13-18; id., Ex. 7, at 25:18-21.)

The Master Service Agreement (“MSA”) that defined the relationship between ROSS and

LegalEase states that LegalEase represents and warrants that “[a]ll Deliverables and any

Developments are original works of authorship of the authors, and do not infringe the Intellectual

Property Rights of any third party.” (“Canter Decl.” Ex. 81.)


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       ROSS did not direct LegalEase to use Westlaw. (Canter Decl., Ex. 71 at 53:24-54:4




                              ); id. at 135:5-15; id. Ex. 72 at 43:2-5; id. Ex. 73 at 271:18-272:5;

286:8-13; D.I. 255-4, Ex. 68, ROSS-010164290 (



                                                       (emphasis added).)

       ROSS did provide feedback on the quality of memos. (Canter Decl., Ex. 71 at 135:16-

21.) It was not the case, though, that ROSS dictated LegalEase’s action. (Canter Decl. Ex. 72 at

193:20-194:20; 197:15-198:5 (
                                             1



                                                                                  (Canter Decl. Ex.

72 at 198:13-20.)

       E.      What ROSS Knew About LegalEase’s Contract With West

       LegalEase paid to use Westlaw pursuant to a license agreement. (D.I. 281-1, Ex. 6 at

321:3-19.) That agreement has a fair use provision. (See D.I. 255-5, Ex. 76, Section 1(d); id.,

Ex. 77, Section 1(a)(iii); id., Ex. 78, Section 1(c), id., Ex. 79, Section 1(c).) The fair use

provision states, “Subscriber may use the Product(s), including Data (as defined below) in the

regular course of Subscriber’s business . . . to the extent not expressly prohibited by the terms of

the Agreement, use Data as permitted under the fair use provision of the Copyright Act (17

U.S.C.A. § 107).” D.I. 281-1, Ex. 14 at Section 1(a).)




1

                                   (Canter Decl., Ex. 71, Hafeez Tr. 135:5-15).


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       Plaintiffs claim that

                                                        . (D.I. 250 at 5.) However, Plaintiffs do

not claim that ROSS ever had access to the LegalEase agreements. Plaintiffs have admitted,



(Canter Decl., Ex. 82 at RFA No. 73.)

           (D.I. 281-1, Ex. 6 at 39:10-22; id., Ex. 11; id., Ex. 12 at 207:1-208:22; D.I. 255-5, Ex.

75; D.I. 281-14, Ex. 40 ¶¶ 28-30.)



                               (D.I. 255-4, Ex. 72.)



        (Canter Decl. Ex. 74.)2 Plaintiffs do not claim that the United States Terms and

Conditions (governing the relationship with LegalEase) are the same as the Canada Terms and

Conditions (which ROSS received from Dentons).



                                                . (Canter Decl., Ex. 75 at 80.19-81:19 (




                                       ); id.., Ex. 76, at 32:22-33:15; 34:12-23; id., Ex. 77; id., Ex.

78; id., Ex. 79 at 31:11-20, id., Ex. 80 at 232:23-233:7




2
 Plaintiffs’ Exhibit 72 is a cover email that omits the attachments. (D.I. 255-4.) ROSS’s Exhibit
74 provides both the email and attachments.


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                                                                                                , (D.I.

255-4 Ex. 50), the document on which Plaintiffs rely does not say that ROSS is prohibited from

obtaining research from third parties. And it certainly does not say that there is any prohibition

that would preclude a third party from providing research.

       F.        The Content And Creation of Memos

       LegalEase created approximately 25,000 memos between September 2017 to December

2017. (D.I. 281-1, Ex. 5 at 116:12-16; Ex. 4; Ex. 6 at 88:13-18; Ex. 7 at 25:18-21; Ex. 2 at

321:7-322:7.) It was known as the “Bulk Memo Project.” (D.I. 281-1, Ex. 2 at 321:7-322:7; D.I.

281-1, Ex. 4.)

                    (Id., Ex. 3; id., Ex. 4; id., Ex. 5, at 123:17-124:13; id., Ex. 2, at 321:7-322:25.)



                          (Id. Ex. 7, at 125:7-12; D.I. 281-9, Ex. 33 at 343:6-21, 354:5-18; D.I.

279 ¶¶ 26-30; D.I. 280 ¶ 26.)



                                                              (D.I. 281-1, Ex. 6 at 99:9-102:1,

266:6-13; D.I. 281-14, Ex. 37 at 129:4-136:15.) The research itself was done manually. As

explained by LegalEase’s CEO, the contract attorneys



                           (Id., Ex. 37, at 139:16-13.)

       LegalEase Drafted Legal Questions To Be As Close As Possible To The Language In

Judicial Opinions.



                                D.I. 281-9, Ex. 35 at 4; D.I. 281-1, D.I. 281-1, Ex. 6, at 63:6-25;

78:1-17, 84:9-85:9, 225:20-226:11, 228:8-24; D.I. 281-14, Ex. 38; D.I. 281-1 Ex. 9 at 127:5-18;


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id., Ex. 7, at 60:8-14; 62:21-63:21; 64:22-65:13; D.I. 281-14 Ex. 39.) And LegalEase’s CEO

explained

                         . (D.I. 281-1 Ex. 6, at 78:1-17.)



                                                                  (Id. Ex. 7, at 62:10-63:21.) The

Morae Global representative testified that



                                             (D.I. 281-14, Ex. 41, at 54:2-7; D.I. 281-1, Ex. 7, at

69:8-71:14, id. at 123:21; D.I. 281-15, Ex. 42.) The Morae Global team “



              (D.I. 281-1, Ex. 7 at 64:22-65:10.)



                                . (D.I. 280 ¶¶ 42, 43, 46, 48.) Using the methodologies suggested

by Plaintiffs’ expert, Dr. Krein, ROSS’s expert



                                           (D.I. 280 ¶¶ 33-48.)



            (D.I. 280 ¶ 42.)3




3

(D.I. 280 ¶ 32.)


                    (D.I. 281-15, Ex. 43, at 139:21-159:21.) Although ROSS served the relevant
expert report on October 10, 2022, and Dr. Krein’s deposition occurred on October 22, 2022,
                                                                                    (D.I. 281-
15, Ex. 43 at 139:21-140:15;151:4-20; 159:23-164:22.)


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        The Topics, Subtopics, Key Numbers And Headnotes Were Only Used Temporarily,

Ephemerally, and Intermediately.



                                                                                       . (D.I. 281-

3, Ex. 26, at 70-71, Ex B.)



                                                                          (D.I. 281-14, Ex. 41, at

52:17-19; 109:12-24; 114:2-9; D.I. 281-1, Ex. 6, at 116:14-117:5, 225:20-226:11; 228:8-24.)

        Subtopics, Key Numbers And Headnotes Were Used In A Disordered, Random And Ad

Hoc Manner.

                                             . (D.I. 281-1, Ex. 7 at 79:22-80:4; 125:7-12; id., D.I.

281-9, Ex. 33 at 343:6-21; 345:5-18; D.I. 279 ¶¶ 26, 28, 30; D.I. 280 ¶ 26.)

                                                                                           . (D.I.

281-1, Ex. 6, at 116:14-117:5.)



                                      (D.I. 280 ¶¶ 22, 25.)

             (D.I. 281-29, Ex., 53 at 188:17-189:4; D.I. 280 ¶ 25 (citing TR-0179847, D.I. 281-

33).)

        There was a wide variance in the dispersal of topics, subtopics and key numbers

traversed.

                                            (D.I. 281-9, Ex. 32; D.I. 281-1, Ex. 7 at 168:7-10; D.I.

280 ¶¶ 22-25.)

                                                (D.I. 281-1, Ex. 7 at 108:14-109:11; D.I. 281-44




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Ex. 66; D.I. 279 ¶ 31.)

       G.      LegalEase Provided ROSS With A List Of 91 Legal Topics As Part of the
               Classifier Project

       Plaintiffs point to Exhibits 61 and 57, as proof that

          (D.I. 250 at 9.) What they point to are two documents reflecting a classifier project

                                                                     . (D.I. 278 ¶ 25;

Supplemental Declaration of Jimoh Oviagele (“Ovbiagele Supp. Decl.”) ¶¶ 8-13.)




                                       (D.I. 278 ¶¶ 24, 26; D.I. 281-1, Ex. 2, at 415:14-416:10.)

       As of the time of ROSS’s work with LegalEase,

                              . (D.I. 281-2, Ex. 24 at 46:9-48:1.)

                                                                                         (D.I. 281-

38, Ex. 62, at 76:14-19; D.I. 278 ¶ 24, Exs. 54 and 55.)

       As part of ROSS’s experimentation with its classifier technology,



                                                                             (D.I. 281-38, Ex. 62

at 76:2-19; D.I. 281-1 Ex. 6 at 303:6-16; 303:24-304:19; D.I. 281-32, Ex. 56; D.I. 278 ¶ 24.)



                                                                       (D.I. 281-32 Ex. 56; D.I.

278 ¶ 25.)                                                              . (D.I. 281-1, Ex. 2, at

416:13-417:18; id., Ex. 5, at 129:22-130:3, 131:5-133:5-6, 146:5-11; D.I. 278 ¶ 26.)

       H.      The        Judicial Opinions




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                                        . (D.I. 250 at 10.)                              (D.I. 281-

34, Ex. 58; D.I. 281-1, Ex. 6, 174:5-19; 174:23-175:11; D.I. 281-1, Ex. 2 at 135:23-136:23.)



                                      (D.I. 281-1, Ex. 2, at 135:23-136:23.)

        I.     The Numbers

                                at issue in this motion are             of the total number of

headnotes. Plaintiffs do not actually state in their brief the number of cases that LegalEase

displayed and downloaded as the alleged basis for their indirect infringement claim.

                     (D.I. 255-3, Ex. 24 at 53.) This comprises not even         of the total of the

data records that comprise the compilation                    . Plaintiffs do not detail how many key
                                                                                           4
numbers might be at issue, or how many headnotes were at issue in the



                   (Canter Decl. ¶¶ 25- 33, Ex. 89.) Plaintiffs were directed to identify all of the

allegedly infringed copyrights in their Third Supplemental Response to ROSS’s First

Interrogatory. (D.I. 201.)

                             (See D.I. 281-3- D.I. 281-8, Ex. 26.) Also, Plaintiffs’ expert Dr. Krein

analyzed headnotes that Plaintiffs contend are at issue in his Appendix C to his rebuttal report,

which are also in Appendix D to his reply report. (D.I. 266-1, Ex. AR; D.I. 266-1, Ex. AT.)5

Those        headnotes were not analyzed by Dr. Krein either.




4
  There is no evidence in the record of the number of headnotes or key numbers that are part of
these           cases because Plaintiffs have not produced these           cases. These
cases were also not included in Plaintiffs’ Third Supplemental Interrogatory Response
identifying all of the allegedly infringed copyrights. (D.I. 281-10- D.I. 281-13, Ex. 36.)
5
  Dr. Krein stated that Appendix D is
                                                             (D.I. 266-1, Ex. AS at iii.)


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                                                                                           (Canter

Decl. ¶ 31, Ex. 89.) This leaves       headnotes.



(Canter Decl. ¶ 32, Ex. 89.)

                                                                 (Canter Decl. ¶ 33, Ex. 89.) This

leaves only      headnotes. (Id.)

                                           ARGUMENT

I.     THE DIRECT INFRINGEMENT ARGUMENT FAILS AS A LEGAL AND
       FACTUAL MATTER

       There are two distinct issues that preclude the award of summary judgment. First, as a

legal matter, the copying of        headnotes, even were it true, cannot establish a copyright

violation. Headnotes do not have their own copyright registrations—separately or jointly. They

are registered as part and parcel of a compilation—as part of a database. The copying of such a

miniscule portion of a compilation is not a copyright violation as a matter of law. Section I, A.

       In addition, the argument depends on Plaintiffs’ soundbite approach to the facts—

statements made for impact. First, Plaintiffs assert and imply that there was some systematic,

regularized copying such that some thought-out portion of West headnotes and content were

copied. This is not true. Second, Plaintiffs’ isolation of      headnotes at issue ROSS’s

ignores two things. ROSS’s expert Dr. Frederiksen-Cross



Section I, B. Also, not even Plaintiffs identified all of the     headnotes as being at issue.

Third, while Plaintiffs intently wish to compare questions only to headnotes, the fact is the




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     (Section I, B; see also Canter Decl., Ex. 89.).

       A.      Plaintiffs Cannot Establish Copyright Infringement By Pointing to The
               Alleged Copying Of Far Less Than One Percent Of A Compilation

       Plaintiffs implicitly acknowledge that the copyright standards that govern compilations

apply. This explains why Plaintiffs rely on Feist Publ’ns v. Rural Tel. Serv. Co., 499 U.S. 340

(1991), and other compilation cases to urge that headnotes are creative. (D.I. 250 at 14; see also

Matthew Bender & Co. v. W. Publ’g Co., 1997 WL 266972, at *2 (S.D.N.Y. May 19, 1997)

(noting that “West’s compilation copyright protects its arrangement of cases, its indices, its

headnotes and its selection of cases for publication”), aff’d, 158 F.3d 674 (2d Cir. 1998).

       As noted in ROSS’s Motion for Summary Judgment on Fair Use, “West has a thin

copyright in its compilations.” Matthew Bender & Co. v. W. Publ’g Co., 158 F.3d 693, 707 (2d

Cir. 1998); D.I. 272 at 12. The materials are also highly functional, utilitarian, and “dictated by

external constraints” inherent in the subject matter of the work. Dun & Bradstreet Software

Servs., Inc. v. Grace Consulting, Inc., 307 F.3d 197, 214 (3d Cir. 2002); Educ. Testing Servs. v.

Katzman, 793 F.2d 533, 539 (3d Cir. 1986); see also Statement of Facts, Section A.

       As compilations, the standard for infringement is not, as Plaintiffs suggest, “substantial

similarity.” (D.I. 250 at 13.) The standard that courts uniformly have arrived at is

“supersubstantiality.” “‘[I]f substantial similarity is the normal measure required to demonstrate

infringement ‘supersubstantial’ similarity must pertain when dealing with ‘thin’ works,’” i.e.,

compilations. TransWestern Pub. Co. LP v. Multimedia, 133 F.3d 773, 776-77 (10th Cir. 1998)

(quoting 4 Nimmer & Nimmer, Nimmer on Copyright § 13.03[A] at 13-28 (1977)).

       In accordance with this view, courts do not find infringement when some small portion of

a compilation has been copied. Here, the         headnotes at issue comprise



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                     Those numbers simply cannot establish infringement. Ross, Brovins &

Oehmke, P.C. v. Lexis Nexis Grp., a Div. of Reed Elsevier Grp., PLC, 463 F.3d 478,483 (6th Cir.

2006) (copying of 61% of a compilation not sufficient for infringement); Matthew Bender & Co.,

1997 WL 266972, at *1 (permissible to scan “up to 75% of West cases”); Experian Info. Sols.,

Inc. v. Nationwide Mktg. Servs., Inc., 893 F.3d 1176, 1186-88 (9th Cir. 2018) (copying of 80% of

database not sufficient); Schoolhouse, Inc. v. Anderson, 275 F.3d 726, 729-30 (8th Cir. 2002)

(74% copied not sufficient).

       B.      The Factual Basis For This Argument Is Missing

       In broad strokes, Plaintiffs try to create an impression that ROSS engaged in some

wholesale copying of Westlaw Content.



                                                                                               (See,

e.g., D.I. 250, at 8-9.) In fact, there was no systemic copying of headnotes or any aspect of what

Plaintiffs call Westlaw Content. See Statement of Facts Section D-F.

       With regard to headnotes,                         at issue come from the Opening Expert

Report of Ms. Barbara Frederiksen-Cross.

                                                                (See D.I. 280 ¶ 7.).



                   Statement of Facts, I.

       A comparison of headnotes to judicial opinions, using the ordinary observer approach

urged by Plaintiffs (D.I. 250 at 15), reflects the following:                          at issue which

remain,                          are either identical to judicial text or less similar to the questions


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than judicial text. Statement of Facts, I

                                     (Canter Decl.¶ 33, Ex. 89.) The tiniest sliver of Plaintiffs’

compilation.

       For these reasons, Plaintiffs’ motion as to direct infringement should be denied.

II.    PLAINTIFFS’ INDIRECT INFRINGEMENT HAS NO MERIT

       Summary judgment as to Plaintiffs’ claim of indirect infringement should be denied

because Plaintiffs cannot show LegalEase’s direct infringement, ROSS’s contribution to that

infringement, or ROSS’s vicarious control over and benefit from that infringement.

       A.      Plaintiffs Cannot Show That LegalEase Directly Infringed.

       For both contributory and vicarious infringement, Plaintiffs must show that LegalEase

directly infringed Plaintiffs’ copyrights. See Columbia Pictures Indus., Inc. v. Redd Horne, Inc.,

749 F2d 154, 160 (3d Cir. 1984); Parker v. Google, 422 F. Supp. 2d 492, 498-99 (E.D. Pa.

2006). Plaintiffs cannot establish direct infringement.

       Plaintiffs point to Exhibits 23, 24, 103 and 5, as proof of copying. (D.I. 250 at 9.)

However, Plaintiffs cannot show that the amount of what is claimed to have been copied is

sufficient to establish infringement. See Schoolhouse, Inc., 275 F.3d at 729-30; Ross, Brovins &

Oehmke, P.C., 463 F.3d at 483; see also Experian Information Solutions, Inc., 893 F.3d at 1176;

TransWestern Pub. Co. LP, 133 F.3d at 776-777.

       Plaintiffs’ Exhibit 23 cites to Appendix C to Dr. Krein’s rebuttal report,

                  (D.I. 250 at 9.)                                                      . (281-10 –

281-13, Ex. 36, at ¶ 112 n. 162.)

                                                                        . (D.I. 280 ¶¶ 22, 25.) This

is a fraction of the registered compilation. (See D.I. 272 at 15-16.)




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       Plaintiffs’ Exhibit 24 is Mr. James Malackowski’s Opening Report.



          (D.I. 255-3.) Judicial opinions are not copyrightable. Wheaton v. Peters, 33 U.S. 591,

668 (1834); Georgia v. Public Resource.Org Inc., 140 S. Ct. 1498 (2020) (annotations of state

laws ). Accessing them is not a copyright violation. Assessment Techs. of WI, LLC v.

WIREdata, Inc., 350 F.3d 640, 646 (7th Cir. 2003). And the number of judicial opinions tells us

nothing of the extent of copyrighted material at issue.6 Even then,           is a small fraction of

over 1.5 million data records for judicial opinions. (D.I. 266, Ex. 81.)

       Plaintiffs’ Exhibit 103 is                                     that the Declaration of

Miranda Means gives no title. (D.I. 255-11.)




                                                                                                   .

       Second, even had LegalEase copied enough material to constitute infringement,

LegalEase cannot be held liable because it has not, on Plaintiffs’ own theory, committed an

infringement.

                                                                                                (D.I.

250 at 15-16.)

       Plaintiffs cite two documents that purportedly

                the Thomson Reuters’ Terms and Conditions and



6
 Plaintiffs’ Exhibit 5, 246:8-10 is a citation to the transcript of the deposition of ROSS’s Expert
Dr. Alan Cox.
                         (and which are referred to at Plaintiffs’ Exhibit 24.) This does not
provide any basis for understanding the scope of the copyrighted material claimed to have been
copied.


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                                         . (See D.I. 250 at 15 (citing 255-5, Ex. 78; D.I. 255-7,

Ex. 84). Neither document reflect that                                                    and

Plaintiffs do not identify any language in either document that supports



       The Westlaw Terms and Condition includes a fair use provision under § 1(c) of the

License Terms that states “The Copyright Act (17 U.S.C.A. 107) fair use provision may allow

additional uses.” (See D.I. 255-5, Ex. 78) The Terms and Conditions also permit LegalEase to

“display [Thomson Reuters’] information product data internally.” (See D.I. 255-5, Ex. 78.) No

determination at this stage has been made as to whether ROSS’s use of the Westlaw Content

constitutes infringement. Thus, there is no decision at this stage as to whether LegalEase’s

access to, display of, and downloading of the Westlaw Content constitutes infringement.

       B.      ROSS Did Not Know Of LegalEase’s Infringement And Did Not Contribute
               Or Induce The Infringement

       In addition to showing LegalEase directly infringed on Plaintiffs’ copyrights, which it has

 not, Plaintiffs must also show that ROSS had knowledge of LegalEase’s infringement and either

  materially contributed to or induced the infringement. See Parker, 422 F. Supp. 2d at 498-99;

   see also Tanksley v. Daniels, 259 F. Supp. 3d 271, 295 (E.D. Pa. 2017) (plaintiff required to

         allege the defendant’s knowledge of the purported direct infringement at issue).

       Plaintiffs claim that ROSS had actual knowledge of LegalEase’s conduct, but none of

Plaintiffs’ examples of ROSS’s knowledge support actual knowledge of any infringing conduct.

(See D.I. 250 at 17.) There is no evidence that ROSS knew the terms of LegalEase agreement.

                                                                 (D.I. 281-1, Ex. 6 at 39:10-22;

id., D.I. 281-2, Ex. 11; id., Ex. 12 at 207:1-208:22; D.I. 255-5, Ex. 75; D.I. 281-14, Ex. 40 ¶¶ 28-

30.) And Plaintiffs have admitted,



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                               (Canter Decl., Ex. 82, RFA No. 73.) Moreover, LegalEase

warranted that it was not violating the IP rights of any third party. (“Canter Decl.” Ex. 81.) Even

were ROSS to have had knowledge of the terms, the agreement contains a fair use provision.7

       ROSS also did not contribute to any infringement. See Matthew Bender & Co. v. W.

Publ’g Co., 158 F.3d 693, 707 (2d Cir. 1998) (summary judgement claim defeated when there

was no evidence the party had encouraged the direct infringers to infringe); Ranieri v.

Adirondack Dev. Grp., 164 F. Supp. 3d 305, 347 (N.D.N.Y. 2016) (“[P]articipation in

the infringement must be ‘substantial’ and the … contributory infringer must have acted in

concert with the direct infringer.”)



              . (D.I. 281-1, Ex. 9 at 43:2-5, 60:10-19; see also Canter Decl. Ex. 72 at 62:3-24

(                                                                              ); id. at 91:22-92:10

(                                                                                  ns); id. at

92:16-93:25

                        t.).




7
  The cases cited by Plaintiffs are factually distinguishable or favorable to ROSS. UMG
Recordings, Inc. v. RCN Telecom Servs., LLC, 2020 WL 5204067 /, at *2, 7-10 (D.N.J. Aug. 31,
2020), involved a defendant that provided the platform by which infringement occurred and was
provided warnings of copyright infringement. In Arista 17 Recs., Inc. v. Flea World, Inc., 2006
WL 842883 (D.N.J. Mar. 31, 2006), the record established defendant was aware of multiple
users infringing copyrights and had a product that did not have “non-infringing uses.” In
Leonard v. Stemtech Int’l Inc, 834 F.3d 376 (3d Cir. 2016), the defendant created the infringing
product to distributor to commit direct infringement, resulting in knowledge of the infringement.
And in Gershwin Publ’g Corp. v. Colom. Artists Mgmt., Inc., 443 F.2d 1159 (2d Cir. 1971), the
infringing activity initiated after confirmation and knowledge of others’ direct infringement.
Finally, in Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir. 2007), defendant hosted
the infringing materials.


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       The fact that a direct infringer is asked to do work is not sufficient to find either

inducement or contribution. See, e.g., Bridgeport Music, Inc. v. WB Music Corp., 508 F.3d 394,

400-01 (6th Cir. 2007) (plaintiff required to introduce evidence that alleged contributory

infringer encouraged direct infringer to violate copyrights); Tanksley, 259 F. Supp. 3d at 295;

Live Face on Web, LLC v. Control Grp. Media Co., 150 F. Supp. 3d 489, 499-500 (E.D. Pa.

2015) (contributory infringement claim defeated when plaintiff did not allege defendant was

acting in concert with infringer and defendant had to take “affirmative steps” to encourage the

direct infringement); Muench Photography, Inc. v. Pearson Education, Inc., 2013 WL 6172953,

at *5-6 (N.D. Cal. Nov. 25, 2013) (not enough for plaintiff to allege contributory infringement

without describing instances of defendant encouraging or promoting third parties to infringe).

Moreover, as specifically applies to Plaintiffs’ compilation, there is no evidence that ROSS

“encouraged [LegalEase] . . . to reproduce West's arrangement.” Matthew Bender, 158 F.3d at

706.

       C.      ROSS Is Not Vicariously Liable

       As with contributory infringement, Plaintiffs must show, which they cannot, that

LegalEase directly infringed on Plaintiffs’ copyright. Plaintiffs also must prove, as a matter of

law, that ROSS had the “right and ability to supervise the infringing conduct” and ROSS had a

“direct financial interest in the infringement.” Adobe Sys. v. Canus Prods., 173 F. Supp. 2d

1044, 1049 (C.D. Cal. 2001). The only evidence Plaintiffs cite to support the control element are

documents and testimony relating                                               . (D.I. 250 at 19.)

       Teri Whitehead, who led the ROSS Bulk Memo Project for LegalEase, testified that



(Canter Decl. Ex. 72 at 193:20-194:20; 197:15-198:5 (

                                                                        None of the evidence


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Plaintiffs offer suggest that ROSS controlled or supervised what research tool LegalEase used

and how it used that tool. The evidence does show that LegalEase independently chose which

legal research tool to use for the Bulk Memo Project, and how it used that tool. In fact,

Whitehead testified that had

                                           . (Canter Decl. Ex. 72 at 198:13-20.)

                                         CONCLUSION

        ROSS respectfully requests that the Court denies Plaintiffs’ motion for partial summary

judgment on copyright infringement.

                                                    Respectfully submitted,
                                                    POTTER ANDERSON & CORROON LLP
 OF COUNSEL:
                                                    By: /s/ David E. Moore
 Gabriel M. Ramsey                                      David E. Moore (#3983)
 Warrington Parker                                      Bindu A. Palapura (#5370)
 Joachim B. Steinberg                                   Andrew L. Brown (#6766)
 Jacob Canter                                           Hercules Plaza, 6th Floor
 Christopher J. Banks                                   1313 N. Market Street
 CROWELL & MORING LLP                                   Wilmington, DE 19801
 3 Embarcadero Center, 26th Floor                       Tel: (302) 984-6000
 San Francisco, CA 94111                                dmoore@potteranderson.com
 Tel: (415) 986-2800                                    bpalapura@potteranderson.com
                                                        abrown@potteranderson.com
 Mark A. Klapow
 Crinesha B. Berry                                  Attorneys for Defendant/Counterclaimant
 CROWELL & MORING LLP                               ROSS Intelligence, Inc.
 1001 Pennsylvania Avenue, NW
 Washington, DC 20004
 Tel: (202) 624-2500

 Dated: January 30, 2023
 10570361 / 20516.00001
  Public Version Dated: February 6, 2023




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